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Attorneys for Trustee J. Ford Elsaesser


                           UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF IDAHO

In re:                                           )
                                                 )       Case No. 21-20460-JMM
VERTICAL PARTNERS WEST, LLC,                     )
                                                 )       Chapter 7
               Debtor.                           )
                                                 )
                                                 )
                                                 )
                                                 )

   CHAPTER 7 TRUSTEE’S MOTION FOR AUTHORIZATION TO OPERATE THE
             DEBTOR’S BUSINESS PURSUANT TO 11 U.S.C. § 721

         Chapter 7 Trustee, J. Ford Elsaesser (the “Trustee”), by and through his proposed

counsel of record, HAWLEY TROXELL ENNIS & HAWLEY LLP, hereby moves the Court for

authorization to operate the business of Chapter 7 Debtor Vertical Partners West, LLC (the

“Debtor”), pursuant to 11 U.S.C. § 721. The Trustee submits that operating the business of the

Debtor on an interim basis of ninety (90) days from the date of the Order granting this Motion is

in the best interest of the estate and is consistent with the orderly liquidation of the estate because

such operation will maximize the value of the estate and thus increase creditor recoveries. In

support of this Motion, the Trustee states as follows.


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                                            I.
                                 JURISDICTION AND VENUE

       1.        Jurisdiction is appropriate in this Court pursuant to 28 U.S.C. § 1334. This is a

core proceeding under 28 U.S.C. § 157(b)(2)(A). Venue is appropriate in this Court under 28

U.S.C. § 1408.

                                             II.
                                         BACKGROUND

       2.        On December 20, 2021, the Debtor filed its voluntary petition under Chapter 7 of

the Bankruptcy Code, commencing this bankruptcy case. Dkt. No. 1.

       3.        The Trustee was thereafter duly appointed as the Chapter 7 Trustee in the

Debtor’s bankruptcy case.

       4.        The Debtor is an Idaho limited liability company, which has its principal place of

business in Rathdrum, Idaho. Although based in Idaho, the Debtor does business throughout the

United States.

       5.        The Trustee has personally visited the Debtor’s business since the filing of this

case to inspect the premises, to begin to understand the Debtor’s business and assets, and to meet

with management of the Debtor.

       6.        The Debtor is a company that designs, manufactures, and sells rechargeable

batteries and related technologies for consumer customers. In addition, the Debtor is engaged in

manufacturing commercial battery modules.

       7.        The Debtor’s President and Chief Executive Officer is Keith Wallace, who signed

the Debtor’s bankruptcy petition.

       8.        Mr. Wallace is also a member of the Debtor.


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       9.      Aladdin PD Fund I, LLLP is the other member of the Debtor. Aladdin PD Fund I,

LLLP is also stated in the Debtor’s schedules to be a subordinated secured creditor of the Debtor.

       10.     The Debtor’s Chief Financial Officer is Robert Tabaracci. The Trustee has been

informed by the Debtor that Mr. Tabaracci was instrumental in compiling the information

provided in the Debtor’s schedules filed in this case and that Mr. Tabaracci has significant

experience and knowledge of the operations of the Debtor.

       11.     As of the petition date, December 20, 2021, the Trustee has been advised by the

Debtor that the Debtor had accounts receivable on goods sold in the amount of $459,277.17. A

true and correct copy of the spreadsheet provided to the Trustee by the Debtor showing the

accounts receivables is attached hereto and incorporated by reference herein as Exhibit A.

       12.     In addition to the accounts receivable, the Debtor has various goods it purchased,

and has largely sold to customers, (see Exhibit A/B-22(B) beginning on page 30 of the Debtor’s

Schedules, Dkt. No. 1) in transit to the Debtor’s location from overseas and within the United

States. The Debtor has advised the Trustee that the Debtor has sold some of these goods, and the

estimated invoice total for these future receivables is $449,243.29. A true and correct copy of

the spreadsheet provided to the Trustee by the Debtor showing the future accounts receivables

related to these in-transit goods is attached hereto and incorporated by reference herein as

Exhibit B. In order to receive these goods at Debtor’s location, the Trustee will be required to

pay certain vendors and taxes so that those goods can clear customs and be shipped to the

Debtor. Such payments to vendors and other parties will be detailed in a filing for the Trustee’s

use of cash collateral and attached budget.




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       13.     During the time the Trustee operates the business of the Debtor the Trustee will

maintain appropriate insurance policies and will add his name to said insurance policies as an

additional insured. The budget that will be filed along with the motion to approve use of cash

collateral will include insurance payments in order to maintain these policies. The insurance

policies are set to expire on March 31, 2022, assuming payment of the insurance premiums in

January 2022. In addition to this insurance already in place, the Trustee is seeking additional

Chapter 7 Trustee insurance to further mitigate risk of loss to the estate.

       14.     In order to facilitate operating the Debtor’s business, the Trustee has been in

discussions with CEO Keith Wallace and CFO Robert Tabaracci in engaging those employees,

and other individuals who previously worked for the Debtor prior to the bankruptcy case, on an

hourly rate basis to assist the Trustee in collecting the accounts receivable, facilitating moving

the goods through customs to the Debtor’s location, representing the Debtor in dealing with

customers, shipping goods sold to customers prepetition, and other appropriate business

activities in order to maximize recovery to the bankruptcy estate.            The expense for these

employees will be provided to the Court via the Trustee’s motion to use cash collateral. The

Trustee has discussed payment of an hourly rate of Mr. Wallace at $186 and of Mr. Tabaracci at

$125. These rates for these employees as well as the other employees will be expressly listed in

the budget to be approved in the context of the motion for use of cash collateral.

       15.     The Trustee is also evaluating whether the Debtor’s business may be sold as a

going concern or whether to otherwise liquidate the assets of the bankruptcy estate. In order for

the Trustee to have the ability to sell the Debtor as a going concern, the Trustee seeks an order of

this Court allowing him to operate the business of the Debtor. During the time the Debtor’s


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business is being operated by the Trustee, the Trustee anticipates evaluating and possibly

marketing the Debtor for sale.

       16.       Finally, the Trustee is investigating two secured creditor claims, which creditors

purport to be secured in all the assets of the Debtor, including inventory and accounts. Although

the Trustee is in the preliminary analysis of these alleged secured claims, the Trustee has reason

to believe those creditors’ secured claims, or one of them, may be subject to avoidance and

preservation of the liens for the benefit of the estate pursuant to the applicable bankruptcy law, or

otherwise applicable law. If this is the case, the liquidation of the inventory and recovery on the

accounts receivable may be of significant value to the bankruptcy estate and its creditors.

       17.       The Trustee believes that operation of the Debtor’s business for ninety (90) days

from the date of the Order granting this Motion, subject to extension of said timeframe upon

order of this Court, and effective as of the date of this Motion, is in the best interest of the

bankruptcy estate because such operation will maximize the value of the estate and thus increase

creditor recoveries. It will also allow the Trustee to explore whether the Debtor may be sold as a

going concern.

                                             III.
                                      LEGAL BASIS AND
                                     RELIEF REQUESTED

       18.       Section 721 provides:    “The Court may authorize the trustee to operate the

business of the debtor for a limited period, if such operation is in the best interest of the estate

and consistent with the orderly liquidation of the estate.” 11 U.S.C. § 721.




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       19.     A bankruptcy court’s decision to allow a trustee to operate the business of a

Chapter 7 debtor is reviewed for an abuse of discretion. See 6 COLLIER          ON   BANKRUPTCY

¶ 721.02, n.1 (Richard Levin & Henry Sommer eds., 16th ed.) (citing case).

       20.     If a bankruptcy court determines operating the business of the Chapter 7 debtor

would maximize the estate’s value, the motion to operate the business may be granted. In re

Quarter Moon Livestock Co., Inc., 116 B.R. 775, 782 (Bankr. D. Idaho 1990).

       21.     Authority to operate a business under § 721 should be granted “where it appears

that a business could be sold for a greater price as a going concern than would be obtained in

ordinary liquidation.” In re AT&T Trailer Park, Inc., 53 B.R. 144, 147 (Bankr. D. Wyo. 1985).

       22.     Applying these principles to this case, it is in the best interest of the estate to

operate the Debtor’s business for ninety (90) days from the date of the Order granting this

Motion. The Trustee believes that operating the business of the Debtor for this limited time

period will allow the Trustee to recover the accounts receivable listed in Exhibit A hereto. In

addition, operating the business of the Debtor will allow the Trustee to bring to the Debtor’s

location the goods in transit, which goods the Trustee will then distribute to its customers who

have already purchased the goods in the ordinary course. The goods in transit, upon information

and belief, have a value of $449,243.29, as stated in Exhibit B hereto. In addition, the Trustee

believes operating the business of the Debtor will allow the Trustee to market and perhaps sell

the Debtor as a going concern. Finally, the Trustee believes that employees of the Debtor,

identified herein and as will be described in full in the Trustee’s motion to use cash collateral,

will be essential to continuing to operate the business of the Debtor.




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       23.    WHEREFORE, based on these facts and applicable law, the Trustee respectfully

requests an Order from this Court granting this Motion and allowing the Trustee to operate the

business of the Debtor, including engaging the appropriate employees on an hourly basis to assist

in the operation and wind down of the Debtor, pursuant to 11 U.S.C. § 721, for a period of ninety

(90) days from the date of the Order granting this Motion, subject to further extension of this

timeframe upon good cause shown and Order of this Court.

Dated: January 3, 2022.

                                            Respectfully submitted,

                                            HAWLEY TROXELL ENNIS & HAWLEY LLP




                                            By:/s/ Brent R. Wilson
                                               Brent R. Wilson, ISB No. 8936
                                               Attorneys for Trustee J. Ford Elsaesser




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 3rd day of January, 2022, I electronically filed the
foregoing CHAPTER 7 TRUSTEE’S MOTION FOR AUTHORIZATION TO OPERATE
THE DEBTOR’S BUSINESS PURSUANT TO 11 U.S.C. § 721 with the Clerk of the Court
using the CM/ECF system which sent a Notice of Electronic Filing to the following persons:


 Matthew T. Christensen                       mtc@johnsonmaylaw.com

 U.S. Trustee                                 ustp.region18.bs.ecf@usdoj.gov

 J. Ford Elsaesser                            feecf@eaidaho.com


      AND, I HEREBY CERTIFY that I have served the foregoing document to the following
non-CM/ECF Registered Participants via U.S. Mail (list names and addresses):

Vertical Partners West, LLC
14028 N. Ohio Street
Rathdrum, Idaho 83858




                                          /s/ Brent R. Wilson
                                          Brent R. Wilson




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Vertical Partners West, LLC.
Accounts Receivable Aging
                                                                                  EXHIBIT A
As of December 20, 2021



                                                          459,277.17
           Customer                 Date      Invoice #   Amount    Due Date          Notes          Address 1     Address 2     City            State      Zip       Country       Phone
11310 ADVENTURE HOBBIES & TOYS 11/08/21       200774       1,971.12 12/08/21         Invoice     782 New River Road Unit 736 Chritiansurg         VA       24073       USA      (540) 382-2871
12593353 P3 GLOBAL, LLC            11/16/21   200809       15,066.58   12/16/21      Invoice     6212 Oakton Street             Morton Grove      IL       60053       USA      (773) 330-1899
12593353 P3 GLOBAL, LLC            11/16/21   200810        1,202.00   12/16/21      Invoice     6212 Oakton Street             Morton Grove      IL       60053       USA      (773) 330-1899
12593353 P3 GLOBAL, LLC            12/14/21   200825      321,349.09   Pmt Sch       Invoice     6212 Oakton Street             Morton Grove      IL       60053       USA      (773) 330-1899
12623380 SeaFloor Systems          12/13/21   200827       10,735.00   12/24/21      Invoice   4415 Commodity Way               Shingle Springs CA         95682       USA      (530) 313-0269
12652212 JEGS Performance          11/05/21   200767        5,042.00   12/05/21      Invoice       101 Jegs Place                 Delaware       OH        43015       USA      (614) 294-5451
12652212 JEGS Performance          11/19/21   200823       24,102.35   12/19/21      Invoice       101 Jegs Place                 Delaware       OH        43015       USA      (614) 294-5451
12652212 JEGS Performance          11/19/21   200824        6,897.00   12/19/21      Invoice       101 Jegs Place                 Delaware       OH        43015       USA      (614) 294-5451
24248 AMAIN HOBBIES                11/16/21   200812        1,000.21   12/16/21      Invoice     424 Otterson Drive Suite 160       Chico         CA       95928       USA      (530-894-0797
8916 HOBBY TOWN UNLIMITED INC 11/16/21        200813        2,005.20   12/16/21      Invoice      1133 Libra Drive                 Lincoln        NE       68512       USA      (402) 434-8419
8958 HRP DISTRIBUTORS, INC. 11/12/21          200793        1,279.00   12/12/21      Invoice   2034 South 3850 West             Salt Lake City    UT       84104       USA      (801) 978-9500
8958 HRP DISTRIBUTORS, INC. 11/12/21          200795          66.34    12/12/21      Invoice   2034 South 3850 West             Salt Lake City    UT       84104       USA      (801) 978-9500
8958 HRP DISTRIBUTORS, INC. 11/17/21          200816       10,161.73   12/17/21      Invoice   2034 South 3850 West             Salt Lake City    UT       84104       USA      (801) 978-9500
                                                                                                 2034 South 3850
8958 HRP DISTRIBUTORS, INC. 11/18/21          200817        5,528.91   12/18/21      Invoice                                    Salt Lake City    UT       84104       USA      (801) 978-9500
                                                                                                      West
8974 Horizon Hobby, LLC.           06/29/21   199792          15.58    07/29/21      Invoice      P.O. Box 6029                   Chapaign        IL       61822       USA      (217) 403-3008
8974 Horizon Hobby, LLC.           06/29/21   199793            5.72   07/29/21      Invoice       P.O. Box 6029                  Chapaign        IL       61822       USA      (217) 403-3008
8974 Horizon Hobby, LLC.           11/05/21   200766        2,857.09   12/05/21      Invoice       P.O. Box 6029                  Chapaign        IL       61822       USA      (217) 403-3008
8974 Horizon Hobby, LLC.           11/05/21   200768       12,137.29   12/05/21      Invoice       P.O. Box 6029                  Chapaign        IL       61822       USA      (217) 403-3008
8974 Horizon Hobby, LLC.           11/05/21   200769        2,714.30   12/05/21      Invoice      P.O. Box 6029                   Chapaign        IL       61822       USA      (217) 403-3008
                                                                                                  200-26825 56th
9071 HI-PERFORMANCE DISTRIBUTORS   11/12/21   200801         767.40    12/12/21      Invoice                                       Langley        BC      V4W3Z9      Canada    (604) 856-5336
                                                                                                        Ave
                                                                                                  200-26825 56th
9071 HI-PERFORMANCE DISTRIBUTORS   11/16/21   200811         766.92    12/16/21      Invoice                                       Langley        BC      V4W3Z9      Canada    (604) 856-5336
                                                                                                        Ave
12615096 Bell Helicopter           12/15/21    35016       33,606.34   12/24/21      Invoice      P.O. Box 77090                  Fort Worth      TX     76177-0090    USA      (682) 228-1874




                                                                                    Paid on
                                                                                                   7905 Browning
12596670 Verge Aero Inc.           11/10/21   200785       26,495.00   12/10/21    12/17/21 to                                   Pennsauken       NJ       8109        USA      (267) 606-4470
                                                                                                     Road #200
                                                                                  Beverly Bank



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                                                                                     31285.5
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                       EXHIBIT B
